                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE


Z.J.,                                                  Case No. 3:17-cv-00936
Plaintiff,
v.                                                     Judge Crenshaw
THE VANDERBILT UNIVERSITY,
                                                       Magistrate Judge Holmes
Defendant.


REPLY IN SUPPORT OF DEFENDANT VANDERBILT UNIVERSITY’S RULE 12(b)(6)
    MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

        The Court gave Plaintiff Z.J. the opportunity to show that Vanderbilt’s decision to expel

him for engaging in sexual assault, including attempted non-consensual sexual intercourse, could

plausibly have been the product of an erroneous outcome, selective enforcement, deliberate

indifference, or archaic assumptions. Z.J. has not done so. Nor has he shown why any of his

state-law claims should not be dismissed.

I.      Z.J. Fails To State A Claim For Violation Of Title IX Under Any Theory

        As Z.J. concedes, a “plaintiff cannot rely on ‘legal conclusions’ or ‘[t]hreadbare recitals

of the elements of a cause of action,’ but, instead, the plaintiff must plead ‘factual content that

allows the court to draw a reasonable inference that the defendant is liable for the misconduct

alleged.’” Doc. 36 at 4 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). Yet Z.J. has failed

to provide the “factual enhancement” needed to “nudge” his claim of discrimination “across the

line from conceivable to plausible.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 546, 570 (2007).

        Specifically, Z.J. has failed to allege in a non-conclusory fashion “facts showing ‘a

“particularized ... causal connection between the flawed outcome [of the Title IX proceedings]

and gender bias.”’” Doe v. Miami Univ., 882 F.3d 579, 593 (6th Cir. 2018). Instead, Z.J.’s




     Case 3:17-cv-00936 Document 38 Filed 05/11/18 Page 1 of 6 PageID #: 856
Opposition cites to paragraphs 147, 190-193, and 201-202 of the Second Amended Complaint,

each of which simply restates the conclusion that Vanderbilt disciplined Z.J. due to his gender. 1

       Z.J. also highlights the Second Amended Complaint’s allegations (¶¶ 184-185) that

Vanderbilt acted in a biased manner by failing to investigate A.H. “after obtaining information

indicating she, too, may have violated the policy,” even though, according to Z.J., she and Z.J.

“were similarly situated intoxicated students.” But Z.J. does not allege how A.H. may have

violated Vanderbilt’s Sexual Misconduct Policy, so he has not provided the “factual content”

necessary for the Court to draw an inference of gender bias. Iqbal, 556 U.S. at 678. And Z.J.’s

own allegations reflect that he and A.H. were not similarly situated: Z.J., not A.H., sought to

initiate sexual contact, see 2d. Am. Compl. ¶ 15 n.4; A.H., not Z.J., alleged physical assault and

attempted non-consensual sexual intercourse, id. ¶ 82; and A.H., not Z.J., alleged that she was

unable to provide effective consent, id. ¶¶ 15, 67.f. These differences provide an “obvious

alternative explanation” for why Vanderbilt investigated Z.J. and not A.H. Twombly, 550 U.S. at

567; Doe v. Univ. of Col., Boulder, 255 F. Supp. 3d 1064, 1079 (D. Colo. 2017) (“[T]he

inference of pro-victim bias is an ‘obvious alternative explanation,’ that overwhelms any

potential inference of gender bias.”) (internal citation omitted); see also Stenzel v. Peterson, 2017

WL 4081897, at *6 (D. Minn. Sept. 13, 2017) (university’s failure to initiate investigation did

not support inference of gender bias, since plaintiff did not make a report of sexual misconduct).


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  2d Am. Compl. ¶ 147 (“Defendant Vanderbilt imposed a disciplinary sanction of expulsion
against the Plaintiff due to his gender.”); id. ¶ 190 (“The Plaintiff alleges selective enforcement
in the disciplinary hearings based on his gender.”); id. ¶ 191 (“The Plaintiff alleges that he was
singled out for enforcement of Title IX proceedings based on his gender.”); id. ¶ 192 (“The
Plaintiff did not have sexual control over A.H. or subject her to dating violence.”); id. ¶ 193
(“The Plaintiff intends to prove during the discovery process he was expelled with no
other less drastic options being made available to him based on his gender.”); id. ¶ 201 (“The
Defendant made a credibility finding of the complaining witness that she was telling the truth
based on her gender.”); id. ¶ 202 (“The Defendant’s findings at the disciplinary process clearly
favored one gender over another on credibility.”).
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    Case 3:17-cv-00936 Document 38 Filed 05/11/18 Page 2 of 6 PageID #: 857
        Finally, Z.J. points to an “unrelated … high profile incident” of sexual assault, Doc. 36 at

5, which he asserts caused the University “to be overzealous in the prosecution of Plaintiff due to

his gender,” 2d Am. Compl. ¶ 197. But nowhere does he explain how that widely reported

incident—in which Vanderbilt expelled four football players suspected of and later prosecuted

for sexual assault—would have biased Vanderbilt against Z.J. Plaintiff does not (and could not)

allege that Vanderbilt was criticized “for failing to take seriously complaints by female students

alleging sexual assault by males.” Doe v. Lynn Univ., Inc., 235 F. Supp. 3d 1336, 1340 (S.D.

Fla. 2017). For this Court to infer gender bias from external pressures, Z.J. must show that

“public pressure targeted the specific disciplinary action being challenged.” Doe v. Univ. of

Cincinnati, 2018 WL 1521631, at *6 (S.D. Ohio Mar. 28, 2018). He has not done so.

II.     The Complaint Identifies No Breach of Vanderbilt’s Sexual Misconduct Policy

        Z.J.’s real claim is that Vanderbilt wrongly decided A.H.’s complaint. But mere

disagreement with the outcome of a university’s misconduct investigation does not support a

breach-of-contract claim. “Absent any allegation that the [disciplinary body] failed to comply

with the relevant procedural requirements,” this court must “decline to construe the Student

Handbook as requiring a particular outcome.” Anderson v. Vanderbilt Univ., 450 F. App’x 500,

502 (6th Cir. 2011). To survive a motion to dismiss, Z.J. must allege facts to show that the

Vanderbilt failed to adhere to its existing policies and procedures for handling sexual misconduct

cases. He did not do so in his Second Amended Complaint, Doc. 27, at 14-21, and has not even

attempted such an argument in his Opposition, Doc. 36 at 5-6.

        At bottom, Z.J.’s Opposition merely repeats the Second Amended Complaint’s fact-free

allegations that Vanderbilt breached its contract with Z.J. by “conduct[ing] [its] investigation and

review with a bias, and discriminat[ing] against the Plaintiff’s statements based on his gender.”

2d Am. Compl. ¶ 123. Such conclusory allegations are insufficient, see Mixon v. Ohio, 193 F.3d
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      Case 3:17-cv-00936 Document 38 Filed 05/11/18 Page 3 of 6 PageID #: 858
389, 400 (6th Cir. 1999), especially where, as here, the plaintiff must overcome the presumption

of honesty and integrity that attaches to actions by university disciplinary authorities. See Atria

v. Vanderbilt Univ., 142 F. App’x 246, 256 (6th Cir. 2005) (absent showing of “actual bias,”

university disciplinary officials presumed to have acted properly).

         Z.J.’s quasi-contract claims are likewise deficient. To plead a quasi-contract claim, Z.J.

must identify some promise or obligation—i.e., an extracontractual agreement or contract

implied in law—that Vanderbilt failed to keep. Thomas Energy Corp. v. Caterpillar Fin. Servs.

Corp., 2014 WL 7366676, at *7 (Tenn. Ct. App. Dec. 26, 2014); Overstreet v. TRW Commercial

Steering Div., 256 S.W.3d 626, 632 (Tenn. 2008). But nowhere—in his Second Amended

Complaint or his Opposition—does Z.J. allege that Vanderbilt promised him anything other than

to follow the Policy. See 2d Am. Compl. ¶ 134; Doc. 36 at 5.

III.     Z.J. Fails To State A Claim For Negligence, Negligence Per Se, Or Gross Negligence

         Z.J. agrees (at 6) that any duty Vanderbilt owed him arises out of the parties’ contract.

Since he has abandoned his negligence, negligence per se, and gross negligence claims, they

must be dismissed. Brown v. VHS of Michigan, Inc., 545 F. App’x 368, 372 (6th Cir. 2013).

IV.      Z.J.’s Remaining State-Law Tort Claims Also Fail

         Z.J.’s claim for intentional infliction of emotional distress cannot survive Vanderbilt’s

Motion. In particular, Z.J. has not even tried to distinguish this case from the decisions by

district courts across the country concluding that conduct of a university disciplinary

investigation does not constitute “outrageous” conduct. See, e.g., Doe v. Coll. of Wooster, 243

F.3d 875, 895 (N.D. Ohio 2017); Austin v. Univ. of Or., 205 F. Supp. 3d 1214, 1229-1230; Routh

v. Univ. of Rochester, 981 F. Supp. 2d 184, 214-215 (W.D.N.Y. 2013); Doe v. Univ. of the South,




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       Case 3:17-cv-00936 Document 38 Filed 05/11/18 Page 4 of 6 PageID #: 859
2011 WL 1258104, at *16 (E.D. Tenn. Mar. 31, 2011); Fellheimer v. Middlebury Coll., 869 F.

Supp. 238, 247 (D. Vt. 1994).

        Z.J.’s defamation claim fails because the Second Amended Complaint contains—and his

Opposition repeats—only the vague assertion that defamatory statements were “[p]ublished to

multiple third parties via the Vanderbilt warning system.” Dkt. 36 at 7. Z.J. has not alleged

what was published, whether his name was mentioned, who was notified, when any allegedly

defamatory statement was made, or any of the other elements that must be specifically pled to

state a claim for defamation. See Handley v. May, 588 S.W.2d 772, 775 (Tenn. Ct. App. 1979)

(“if the complaint is so vague that a court cannot ascertain the nature of the alleged slander, it is

insufficient”).

                                          CONCLUSION

        The Second Amended Complaint should be dismissed in its entirety.

Dated this 11th day of May, 2018.

                                                      Respectfully submitted,

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    Case 3:17-cv-00936 Document 38 Filed 05/11/18 Page 5 of 6 PageID #: 860
                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of May, 2018, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to:

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                                                       /s/ Bruce M. Berman____
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                                                  6

    Case 3:17-cv-00936 Document 38 Filed 05/11/18 Page 6 of 6 PageID #: 861
